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UNITED STATES DISTRICT COURT

DISTRICT OF MINNESOTA RECE| VED

AUG 16 2029
UNITED STATES OF AMERICA, INFORMATION CLERK y US. Dist
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MINNEAPOLIs MINN COURT
Plaintiff, 18 U.S.C. § 666 ESOTA
18 U.S.C. § 981(a)(1)(C)
v. 28 U.S.C. § 2461(c)
MARCIE MARIE THUMANN,
Defendant.

THE UNITED STATES ATTORNEY CHARGES:

COUNT 1
(Theft from Program Receiving Federal Funds)

Beginning on or about January 2010, and continuing through at least July 18,
2018, in the State and District of Minnesota, the defendant,

MARCIE MARIE THUMANN,

being an agent of the Albert Lea Housing & Redevelopment Authority, an organization
that annually receives more than $10,000 from the United States Department of
Housing and Urban Development, knowingly embezzled and stole $213,217 for her own
use—an amount exceeding $5,000—and said property was rightfully owned and under
the custody and control of the Albert Lea Housing & Redevelopment Authority.

All in violation of Title 18, United States Code, Section 666.

FORFEITURE ALLEGATIONS

Count 1 of this Information is incorporated for the purpose of alleging forfeitures.
Upon conviction of Count 1, the defendant, MARCIE MARIE THUMANN, shall forfeit

to the United States any property, real or personal, which constitutes or is derived from

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U.S. DISTRICT COURT MPLS

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proceeds traceable to the violations of Title 18, United States Code, Section 666,
pursuant to Title 18, United States Code, Section 981(a)(1)(C), and Title 28 United
States Code, Section 2461(c).

If any of the above-described forfeitable property is unavailable for forfeiture, the
United States intends to seek the forfeiture of substitute property as provided in Title
21, United States Code, Section 853(p), as incorporated by Title 28, United States Code,
Section 2461(c).

Dated: August 16, 2022 ANDREW M. LUGER
United States Attorney

/s/ Jordan L. Sing

BY: JORDAN L. SING (893084)
Assistant United States Attorney
